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                 EXHIBIT A
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   STATE OF MINNESOTA                                                         DISTRICT COURT

   COUNTY OF HENNEPIN                                         FOURTH JUDICIAL DISTRICT


   Jeremy R. Johnson,                                   Court File No.:
                                                        Judge:
                  Plaintiff,                            Case Type: 14 - Other Civil Matter

   v.

   Encore Capital Group, Inc., and
                                                                      SUMMONS
   Midland Credit Management, Inc.,

                  Defendants.


   THIS SUMMONS IS DIRECTED TO: MIDLAND CREDIT MANAGEMENT, INC.

           1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
   Plaintiffs Complaint against you is attached to this summons. Do not throw these papers away.
   They are official papers that affect your rights. You must respond to this lawsuit even though it
   may not yet be filed with the Court and there may be no court file number on this summons.
          2. YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You
   must give or mail to the person who signed this summons a written response called an Answer
   within 20 days of the date on which you received this Summons. You must send a copy of your
   Answer to the person who signed this summons located at:
          Mark L. Heaney
          Heaney Law Firm, LLC
          13911 Ridgedale Drive, Suite 110
          Minnetonka, Minnesota 55305

           3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response
   to the Plaintiffs Complaint. In your Answer you must state whether you agree or disagree with
   each paragraph of the Complaint. If you believe the Plaintiff should not be given everything
   asked for in the Complaint, you must say so in your Answer.

           4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
   RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
   SUMMONS. If you do not Answer within 20 days, you will lose this case. You will not get to
   tell your side of the story, and the Court may decide against you and award the Plaintiff
   everything asked for in the complaint. If you do not want to contest the claims stated in the
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   complaint, you do not need to respond. A default judgment can then be entered against you for
   the relief requested in the complaint.
           5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
   have a lawyer, the Court Administrator may have information about places where you can get
   legal assistance. Even if you cannot get legal help, you must still provide a written Answer to
   protect your rights or you may lose the case.
          6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
   ordered to participate in an alternative dispute resolution process under Rule 114 of the
   Minnesota General Rules of Practice. You must still send your written response to the
   Complaint even if you expect to use alternative means of resolving this dispute.

                                                    HEANEY LAW FI


   Date: September 10, 2015
                                                                aney
                                                    (MN #333219, AZ #022492)
                                                    13911 Ridgedale Drive, Suite 110
                                                    Minnetonka, MN 55305-1773
                                                    Tel: (952) 933-9655
                                                    Fax: (952) 544-1308
                                                    mark@heaneylaw.com

                                                   Attorney for Plaintiff Jeremy R. Johnson
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   STATE OF MINNESOTA                                                    DISTRICT COURT

   COUNTY OF HENNEPIN                                      FOURTH JUDICIAL DISTRICT


   Jeremy R. Johnson,                               Court File No.:
                                                    Judge:
                 Plaintiff,                         Case Type: 14 - Other Civil Matter

   v.

   Encore Capital Group, Inc., and
                                                                COMPLAINT
   Midland Credit Management, Inc.,

                 Defendants.


          Plaintiff, Jeremy R. Johnson, as and for his cause of action hereby states and

   alleges the following:

                                      INTRODUCTION.

          1.     This is an action for damages brought by Jeremy R. Johnson against Encore

   Capital Group, Inc., and Midland Credit Management, Inc., for their repeated violations

   of the Telephone Consumer Protection Act, 15 U.S.C. §227 et seq. ("TCPA") and

   invasions of privacy.

                                       JURISDICTION

          2.     Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3), which states,

   "A person or entity may, if otherwise permitted by the laws or rules of court of a State,

   bring in an appropriate court of that State... (B) and action to recover for actual monetary

   loss from such a violation..." 47 U.S.C. § 227(b)(3).
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          3.     Venue is proper in this judicial district because the relevant acts and

   transactions occurred within Hennepin County, Minnesota, and the Defendants transact

   business within Hennepin County, Minnesota.

                                            PARTIES

          4.     Plaintiff, Jeremy R. Johnson, is a natural person and plaintiff in this action.

          5.     Defendant, Encore Capital Group, Inc., ("Encore") is a publicly traded,

   Delaware corporation. Encore, through its wholly owned subsidiaries, including MCM,

   engages in the business of collecting consumer debts in Minnesota. Encore's principal

   place of business is located at 3111 Camino , Del Rio. North, Suite 1300, in San Diego,

   California.

          6.     Defendant, Midland Credit Management, Inc. ("MCM") is a Kansas

   corporation engaged in the business of collecting debts in Minnesota. MCM is a wholly

   owned subsidiary of Encore. MCM's principal place of business is located at 3111

   Camino Del Rio North, Suite 1300, in San Diego, California. MCM's registered agent is

   Corporation Service Company located at 2345 Rice Street, Suite 230, Roseville,

   Minnesota. MCM is licensed by the Minnesota Department of Commerce to collect

   consumer debts in Minnesota.

                                            FACTS

         7.      Sometime prior to January 1, 2012, Plaintiff allegedly incurred a financial

   obligation, namely a balance due to CIT Bank ("the Debt" or "alleged Debt").




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          8.      Upon information and belief, on or around January 1, 2013, the CIT Bank

    sold, assigned or otherwise transferred the alleged Debt to Midland Funding LLC, a

    subsidiary of Defendant Encore.

          9.      Midland Funding LLC transferred the debt to Defendant MCM for

   collection from the Plaintiff.

          10.     Throughout the days and months from January 1, 2013, until March 1, 2014,

   Defendants made in excess of 100 telephone calls to Plaintiff's cellular telephone using

   an "automatic telephone dialing system," as defined by TCPA 47 U.S.C. § 227(a)(1) and

   47 C.F.R. 64.1200(f)(1), in an attempt to collect the balance allegedly due on the Debt. A

   partial list of the phone calls made by Defendant Encore is attached hereto, marked as

   "Exhibit A."

          11.     Each of the Defendants numerous telephone calls were made to Plaintiff's

   cellular telephone, which contains a Minnesota area code ("612"). The Defendants knew

   they were calling a Minnesota resident.

          12.     The phone number displayed on' Plaintiff's caller id for many of Defendants'

   phone calls was "866-652-3145." This toll-free number is assigned to Defendants.

          13.     Defendant MCM has been registered with the Public Utility Commission of

   Texas to use an Automatic Dial Announcing Device since September 11, 2006. See

   attached, "Exhibit B."

                               Telephone Consumer Protection Act

          14.     At all times relevant to this complaint, the Plaintiff was and is a "person" as

   defined by the TCPA 47 U.S.C. § 153(39).

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           15.     At all times relevant to this complaint, Defendants owned, operated, and/or

    controlled "customer premises equipment" as defined by the TCPA 47 U.S.C. § 153(16)

    that originated, routed, and/or terminated telecommunications.

           16.     Defendants at all times relevant to the complaint herein engaged in

    "telecommunications" defined by the TCPA 47 U.S.C. § 153(50).

           17.     Defendants at all times relevant to the complaint herein engaged in "interstate

    communications" by the TCPA 47 U.S.C. § 153(28).

           18.     At all times relevant to this complaint, the Defendants used, controlled, and/or

    operated "wire communications" as defined by the TCPA 47 U.S.C. § 153(59), that existed

    as instrumentalities of interstate and intrastate commerce.

           19.    At all times relevant to this complaint, Defendants used, controlled, and/or

    operated "automatic telephone dialing systems" as defined by the TCPA 47 U.S.C. §

    227(a)(1) and 47 C.F.R. 64.1200(0(1).

                                    EMOTIONAL DISTRESS

           20.    As a result of the Defendants' repeated violations of the TCPA and

    invasions of Plaintiff's privacy, Plaintiff suffered actual damages in the form emotional

    distress. Plaintiff suffered from headaches, anxiety, stress, anger, frustration, irritability

    and upset stomach, among other negative emotions and physical symptoms.

                                        CAUSES OF ACTION

                                        COUNT I.
                 VIOLATIONS OF THE TELEPHONE. CONSUMER PROTECTION ACT
                                   47 U.S.C. § 227(B)(1)



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           21.      Plaintiff incorporates by reference all of the above paragraphs of this

    Complaint as though fully stated herein.

           22.      Within the four year period immediately preceding this action, Defendants

    made numerous calls to the Plaintiff's cellular telephone using an automatic telephone

    dialing system in violation of the TCPA, 47 U.S.C. Section 227(b)(1)(A)(iii), and 47

    C.F.R. 64.1200 (a)(I)(iii).

           23.      Within the four year period immediately preceding this action, Defendants

    used an artificial or prerecorded voice when it called Plaintiff's cellular telephone in

    violation of 47 U.S.C. § 227 (b)(1)(A), 47 CFR 64.1200 (a)(1).

           24.      The acts and or omissions of Defendants at all times material and relevant

    hereto, as described in this complaint, were done unfairly, unlawfully, intentionally,

    deceptively and absent bona fide error, lawful right, legal defense, legal justification or

    legal excuse.

          25.       As a causally-direct and legally proximate result of the above violations of

   the TCPA and the C.F.R., Defendants at all times material and relevant hereto, as

   described in this Complaint, caused Plaintiff to sustain damages.

          26.       Defendants did not have the prior express consent of Plaintiff to use an

   automatic telephone dialing system to call the Plaintiff's cellular telephone.

          27.       Under the 47 U.S.C. Section 227(b)(3)(B), the Plaintiff is entitled to

   statutory damages under the TCPA of $500.00 per phone call made to Plaintiff.




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           28.     Defendants willfully and knowingly violated the TCPA, and as such the

    Plaintiff is entitled to $1,500.00 per phone call made to the Plaintiff pursuant to the 47

    U.S.C. Section 227(b)(3).

           29.     Plaintiff is entitled to injunctive relief prohibiting Defendants from

    contacting the Plaintiff on his cellular phone using an automated dialing system pursuant

    to the 47 U.S.C. Section 227(b)(3)(a).

                                         COUNT III.
                       INVASION OF PRIVACY BY INTRUSION ON SECLUSION

           30.     Plaintiff incorporates by reference all of the paragraphs of this Complaint

    as though fully stated herein.

           31.     Congress explicitly recognized a consumer's inherent right to privacy in

    collection matters in passing the Fair Debt Collection Practices Act, when it stated as part

    of its findings:

                   Abusive debt collection practices contribute to the number of

                   personal bankruptcies, to marital instability, to the loss of jobs, and

                   to invasions of individual privacy.

           15 U.S.C. § 1692(a) (emphasis     added).

           32.     Congress further recognized a consumer's right to privacy in financial data

    in passing the Gramm Leech Bliley Act, which regulates the privacy of consumer

    financial data for a broad range of "financial institutions" including debt collectors albeit

    without a private right of action, when it stated as part of its purposes:




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                   It is the policy of the Congress that each financial institution has

                   an affirmative and continuing obligation to respect the privacy

                   of its customers and to protect the security and confidentiality of

                   those customers' nonpublic personal information.

     15 U. S .C. § 6801(a) (emphasis added).

            33.    Defendants and/or their agents intentionally and/or negligently interfered,

     physically or otherwise, with the solitude, seclusion and or private concerns or affairs of

     the Plaintiff, namely, by repeatedly and unlawfully making phone calls to Plaintiff in

     violation of the TCPA. See Owners Ins. Co. v. European Auto Works, Inc. 695 F.3d 814,

     819 — 820 (8th Cir. 2012) ("We conclude that the ordinary meaning of the term "right of

    privacy" easily includes violations of the type of privacy interest protected by the TCPA.

    Our court has previously stated that violations of the TCPA are " 'invasions of privacy'

    under [the] ordinary, lay meaning[] of the[] phrase [].")(quoting Universal Underwriters

    Ins. Co. v. Lou Fusz Auto. Network, Inc., 401 F.3d 876, 881 (8th Cir. 2005)).

           34.    Defendants and/or their agents intentionally and/or negligently interfered,

    physically or otherwise, with the solitude, seclusion and or private concerns or affairs of

    this Plaintiff, namely, by repeatedly and unlawfully attempting to collect the alleged Debt

    using an automatic telephone dialing system to call Plaintiff's cell phone in violation of

    the TCPA.

           35.    Defendants and their agents intentionally and/or negligently caused

    emotional harm to Plaintiff by engaging in highly offensive conduct in the course of

    collecting this debt, thereby invading and intruding upon Plaintiff's right to privacy.

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            36.     Plaintiff had a reasonable expectation of privacy in Plaintiff's solitude,

    seclusion, private concerns or affairs.

            37.     The conduct of Defendants and their agents, in engaging in the above-

    described illegal collection conduct against Plaintiff, resulted in multiple intrusions and

    invasions of privacy by Defendants which occurred in a way that would be highly

    offensive to a reasonable person in that position.

           38.      As a result of such intrusions and invasions of privacy, Plaintiff is entitled

    to actual damages in an amount to be determined at trial from Defendants.

                                      PRAYER FOR RELIEF

           THEREFORE, Plaintiff respectfully requests that judgment be entered against

    Defendants for the following:

                                            COUNT I.
                      Violations of the Telephone Consumer Protection Act

           1.       For a declaration that Defendants telephone calls to Plaintiff violated the

    TCPA;

           2.       For an award of damages consistent with the TCPA, 47 U.S.C. §

    227(b)(3)(B);

           3.       For an award of triple the damages available under 47 U.S.C. § 227(b)(3)

    for willful or knowing violations of the TCPA;

           4.       For a permanent injunction prohibiting Defendants from placing non-

    emergency telephone calls to Plaintiff's cellular telephone using an automatic telephone

    dialing system or pre-recorded or artificial voice; and


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           5.     Such other or further relief as the Court deems proper;

                                         COUNT II.
                       Invasion of Privacy by Intrusion Upon Seclusion

           6.     For an award of actual damages for the emotional distress suffered as a

    result of the invasions of privacy in an amount to be determined at trial; and

           7.     For such other and further relief as may be just and proper.


                                                    HEANEY LAW F


    Date: September 10, 2015                                  A
                                                      1".".     aney
                                                    (MN #333219, AZ #022492)
                                                    13911 Ridgedale Drive, Suite 110
                                                    Minnetonka, MN 55305-1773
                                                    Tel: (952) 933-9655
                                                    Fax: (952) 544-1308
                                                    mark@heaneylaw.com

                                                    Attorney for Plaintiff Jeremy R. Johnson




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                   EXHIBIT "A"
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                                        CALL LIST

            'fie:         Date     Time CST - 'PM/AM   incoming'-Number
               1     11/21/2013      11:12      AM        866-652-3145
               2     11/21/2013       5:33      PM        866-652-3145
               3     11/21/2013       8:17      PM        866-652-3145
              4     11/22/2013       11:16      AM        866-652-3145
              5     11/22/2013        5:00      PM        866-652-3145
              6     11/23/2013       11:01      AM        866-652-3145
              7     11/23/2013        5:14      PM        866-652-3145
              8     11/23/2013        6:58      PM        866-652-3145
              9     11/24/2013       12:01      PM        866-652-3145
              10    11/25/2013       11:22      PM        866-652-3145
              11    11/25/2013        4:43      PM        866-652-3145
              12    11/26/2013       11:24      AM        866-652-3145
             13     11/26/2013        6:02      PM        866-652-3145
             14     11/27/2013       11:21      AM        866-652-3145
             15     11/27/2013        8:32      PM        866-652-3145
             16     11/29/2013        1:43      PM        866-652-3145
             17     11/29/2013        5:32      PM        866-652-3145
             18     11/30/2013       11:20      AM        866-652-3145
             19     11/30/2013        4:00      PM        866-652-3145
             20     12/01/2013        2:46      PM        866-652-3145
             21     1 2 /01/2013      7:10      PM        866-652-3145
             22     12/02/2013       10:35      AM        866-652-3145
             23     12/02/2013        3:11      PM       866-652-3145
             24     12/03/2013        1:44      PM       866-652-3145
             25     12/03/2013        7:16      PM        866-652-3145
             26     12/04/2013        2:16      PM       866-652-3145
             27     12/04/2013        8:00      PM       866-652-3145
             28     12/05/2013       11:19      AM       866-652-3145
             29     12/06/2013       11:21      AM       866-652-3145
             30     12/06/2013        7:52      PM       866-652-3145
             31     12/07/2013        2:49      PM       866-652-3145
             32     12/08/2013       12:12      PM       866-652-3145
             33     12/08/2013        6:00      PM       866-652-3145
             34     12/09/2013        3:48      PM       866-652-3145
             35     12/10/2013        2:48      PM       866-652-3145
             36     12/10/2013        8:09      PM       866-652-3145
             37     12/11/2013        2:32      PM       866-652-3145
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                     Exhibit "B"
       Case 3:15-cv-02477-MMA-MDD Document 1-1 Filed 10/05/15 PageID.19 Page 16 of 17


ADAEZ Report                                                                     http ://ww w.puc .tex as ,gov/industry/communications/directories/




                                                             Public Utility Commission of Texas

                                                                          ADAD Report


                                              MIDLAND CREDIT MANAGEMENT INC
                                                              Permit No: 060376
                                                                   Type: ADAD
                                                  Permit Approved Date: 9/11/2006
                                                      Date Last Renewed: 9/11/2014


          DBA Names
                                                                  No DBA Records

          Contact Information

                        Mailing / PO Box (Mailing Address)                Mailing / PO Box
                       MIDLAND CREDIT MANAGEMENT INC                     MIDLAND CREDIT MANAGEMENT INC
                       C/O CORNERSTONE SUPPORT INC                       GREG GERKIN
                       DENISE ROBBINS                                    3111 CAMINO DEL RIO NORTH
                       70 MANSELL COURT                                  SUITE 1300
                       SUITE 250                                         SAN DIEGO,CA 92108
                       ROSWELL,GA 30076                                  Email: Greg.Gerkin@mcmcg.com
                       Email: drobbins@comerstonesupport.com             Phone: 858-560-2600
                       Phone: 678-740-0498                               Fax: 858-309-6998
                       Fax: 770-587-2440

                        Company/ Physical                                 Company/ Physical
                       MIDLAND CREDIT MANAGEMENT INC                     MIDLAND CREDIT MANAGEMENT INC
                       GREG GERKIN                                       GREG GERKIN
                       8875 AERO DRIVE                                   700 W. HENRY ST
                       SUITE 200                                         INDIANAPOLIS,IN 46225
                       SAN DIEGO,CA 92123                                Email: Greg.Gerkin@mcmcg.com
                       Email: Greg.Gerkin@mcmcg.com                      Phone: 858-560-2600
                       Phone: 858-560-2600                               Fax: 858-309-6998
                       Fax: 858-309-6998


          Reports

                        2014                                              2013
                       ADAD Annual Report                                ADAD Annual Report
                       Submitted: 6/9/2014                               Submitted: 6/7/2013
                       Approved: 6/12/2014                               Approved: 6/14/2013

                        2012                                             2011
                       ADAD Annual Report                                ADAD Annual Report
                       Submitted: 6/7/2012                               Submitted: 6/7/2011
                       Approved: 6/13/2012                               Approved: 6/10/2011




of 2                                                                                                                            9/10/15, 10:05 AM
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ADAD,Report                                           http://www.puc.texas.gov/industry/communications/directories/...



                  2010                         2009
                  ADAD Annual Report          ADAD Annual Report
                  Submitted: 5/3/2010         Submitted: 4/20/2009
                  Approved: 5/11/2010         Approved: 5/7/2009

                  2008                        2007
                  ADAD Annual Report          ADAD Annual Report
                  Submitted: 4/8/2008         Submitted: 7/17/2007
                  Approved: 4/22/2008         Approved: 7/19/2007

                                         End Report




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